                Case 08-10315-jkf
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             BARRY D. IGJEBAN                                   Document     Page 1 of 3
             Suite 1500 Suburban Station Building
         *   1617 John F. Kennedy BIiId.
             Philadelphia, PA 19103




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                   ATTENTION: ADDRESS CORRECTION REQUESTED
              If you are receiving this notice, U.S. Postal Service records indicate that the address that the debtor listed

              is subject to    aforwarding order. Forwarding orders are only good for a limited time.


         IF YOU ARE THE INTENDED NOTICE RECIPIENT,                                       IF YOU ARE THE DEBTORIDEBTOR’S COUNSEL
         Update your address immediateiy with the                                        1.   Find an updated address and send the attached
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         Bankruptcy Court‘idénﬁﬁed‘on the notice pursuant to                                  document to that address
         the Court's loca! procedures.                                                   2.   Update the address with the Bankruptcy Court
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                                                UNITED STATES BANKRUPTC? COURi’
                                                                                        M
                                                EASTERN DISTRICT OF PENNS?LVANIA



           in re: PURE WEIGHT LOSS, INC.                                          Casé No. 08-10315 JKF
                 LA WE|GHT LOSS CENTERS, INC.                      WWW“?!




                                   Debtor(s)


                                               NOTICE OF TRUSTEES FINAL REPORT AND
                                                 APPLICATIONS FOR COMPENSATION
                                                   AND DEADLINE TO OBJECT (NFR)

                   Pursuant to Fed. R. Bankr. P. 2002(a)(6) and 2002(f)(8), please take notice that Bonnie B, Finkel,
           trustee of the above styled estate, has ﬁled a Final Report and the trustee and the trustee’s professionals have
           ﬁled ﬁnal fee applications, which are summarized in the attached Summary of Trustee’s Final Report and
           Applications for Compensation.
                   The complete Final Report and all applications for compensation are available for inspection at the
            Ofﬁce of the Clerk, at the fouowing address:

                                                           900 Market Street
                                                               Suite 400
                                                        Philadelphia, PA 19107

                    A copy of the Trustee's Notice of Final Report, which will include a list of proposed payments to
           creditors, may also be found at the case information website which is: Pureweighﬂossbankruptcy.net

                   Any person wishing to object to any fee application that has not already been approved or to the Final
           Report, must me a written objection within 21 days from the mailing of this notice, serve a copy of the objections
           upon the trustee, any party whose application is being challenged and the United States Trustee. A hearing on
           the fee applications and any objection to the Final Report will be held at 9:30 AM on 06/26/2019 in Courtroom
           3, Robert N.C. Nix, Sr. Federal Courthouse, 900 Market Street, Philadelphia, PA 19107. If no objections are
           ﬁled, upon entry of an order on the fee applications, the trustee may pay dividends pursuant to FRBP 3009
           without further order of the Court.




           Date Mailed: 05/30/2019                                          By: ls/ Bonnie Finkel

                                                                                              Chapter 7 Trustee
           Bonnie B. Finkel
           PO Box 1710
           Cherry Hill, NJ 08034

           Note: if you have a question. please view the above referenced website or send an email to the Trustee at
           Pureweightlossbankruptcy@c0mcast.net.


           UST Form 101-7-NFR (10/1/2010)




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  UNITED STATES BANKRUPTCY COURT
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CONTAINS NOTICE of a PROCEEDING
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